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     Federal Public Defender
 2   Nevada State Bar No. 11479
 3   BRANDON C. JAROCH
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 7
     Attorney for Sergio Barajas
 8
 9                               UNITED STATES DISTRICT COURT
10                                    DISTRICT OF NEVADA
11
     UNITED STATES OF AMERICA,                             Case No.: 2:17-cr-00316-RFB-DJA
12
                    Plaintiff,                             STIPULATION TO CONTINUE
13
                                                           SENTENCING HEARING
            v.
14                                                         (First Request)
     SERGIO BARAJAS,
15
                    Defendant.
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17
            IT IS HEREBY STIPULATED AND AGREED, by and between Christopher Chiou,
18
     United States Attorney, and Daniel Schiess, Assistant United States Attorney, counsel for the
19
     United States of America, and Rene L. Valladares, Federal Public Defender, and Brandon C.
20
     Jaroch, Assistant Federal Public Defender, counsel for Sergio Barajas, that the Sentencing
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     Hearing currently scheduled on June 1, 2021, be vacated and continued to a date and time
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     convenient to the Court, but no sooner than sixty (60) days.
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            This Stipulation is entered into for the following reasons:
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            1.      Counsel for the defendant needs additional time to collect mitigation materials
25
     and prepare for sentencing.
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            2.      Defendant is not incarcerated and does not object to a continuance.
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 1          3.      Additionally, denial of this request for continuance could result in a
 2   miscarriage of justice.
 3          This is the first request for continuance filed herein.
 4          DATED this 11th day of May, 2021.
 5
 6    RENE L. VALLADARES                               CHRISTOPHER CHIOU
      Federal Public Defender                          Acting United States Attorney
 7
 8
      By /s/ Brandon C. Jaroch                         By /s/ Daniel Schiess
 9    BRANDON C. JAROCH                                DANIEL SCHIESS
      Assistant Federal Public Defender                Assistant United States Attorney
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 1                              UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                          Case No. 2:17-cr-00316-RFB-DJA
 4
                   Plaintiff,                           ORDER
 5
            v.
 6
     SERGIO BARAJAS,
 7
                   Defendant.
 8
 9
10          Based on the Stipulation of counsel and good cause appearing,

11          IT IS THEREFORE ORDERED that the Sentencing Hearing currently scheduled on

12                                                                         August 3, 2021
     June 1, 2021, at the hour of 10:00 a.m., be vacated and continued to _________________ at

13                2 00 __.m.
     the hour of ___:___ p

14                     14th day of May, 2021.
            DATED this ____

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                                                RICHARD F. BOULWARE, II
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                                                UNITED STATES DISTRICT JUDGE
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